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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION


   JENNIFER VANDERSTOK, et al.,

            Plaintiffs,                              Case No. 4:22-cv-00691-O

       v.

   MERRICK GARLAND, in his
   official capacity as Attorney General
   of the United States, et al.,

            Defendants.


                          DECLARATION OF MATTHEW P. VARISCO

  I, Matthew P. Varisco, hereby declare, under penalty of perjury pursuant to 28 U.S.C. § 1746,

  as follows:

                                          Introduction

  1.    I am the Assistant Director for the Office of Enforcement Programs and Services

        (Regulatory Operations) within the Bureau of Alcohol, Tobacco, Firearms, and

        Explosives (ATF), United States Department of Justice (DOJ). I have been in this

        position for 9 months, and have also served as an ATF Special Agent for over 22

        years, including as the Special Agent in Charge of the Philadelphia Field Division,

        which encompasses the Commonwealth of Pennsylvania. Before that, I was an ATF

        Industry Operations Investigator for over 2 years. I hold a Master of Science degree in

        Criminal Justice from Iona University, New Rochelle, New York, and a Master of

        Science degree in Strategic Studies from the U.S. Army War College, Carlisle,
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       Pennsylvania. I have testified in numerous grand jury proceedings as well as criminal

       trials and hearings in U.S. District Court.

  2.   In my current senior executive position, I direct policy, conduct planning, and oversee

       rulemakings for Bureau-wide programmatic offices, including ATF’s National Tracing

       Center Division, Firearms Ammunition Technology Division, Regulatory Affairs

       Division, and National Firearms Act Division. These divisions support every aspect of

       ATF’s mission to protect the public and reduce violent crime throughout the United

       States. I supervise around 833 personnel and currently manage an approximately $57

       million budget.

  3.   I am authorized to provide this Declaration on ATF’s behalf and am providing it in

       support of the Defendants' Emergency Motion for Stay Pending Appeal in this civil

       case. This declaration is based on my personal knowledge and belief, my training and

       experience, as well as information conveyed to me by ATF personnel in the course of

       my official duties. This declaration does not set forth all of the knowledge and

       information I have on the topics discussed herein and it does not state all of the harms

       to ATF and the public from the judgment in this case.

  4.   I am familiar with the definition of “firearm” and the enforcement provisions in the

       Gun Control Act of 1968, as amended (“GCA”), and the National Firearms Act of

       1934, as amended (“NFA”). I am also familiar with ATF’s Final Rule, “Definition of

       ‘Frame or Receiver’ and Identification of Firearms” (“Rule”), 87 FR 24652 (Apr. 26, 2022),

       which implemented several of these GCA and NFA provisions.

  5.   Congress and the Attorney General delegated the responsibility for administering and

       enforcing the GCA and NFA to the Director of ATF, subject to the direction of the
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       Attorney General and the Deputy Attorney General. See 28 U.S.C. 599A(b)(1)-(2); 28

       C.F.R. 0.130(a)(1)–(2).

  6.   ATF’s top priority is public safety. ATF recognizes the role that firearms play in

       violent crimes and, as part of its efforts to administer and enforce the GCA and NFA,

       ATF pursues an integrated regulatory and enforcement strategy. ATF uses the GCA

       and NFA to target, investigate, and recommend prosecution of offenders to reduce the

       level of violent crime and to enhance public safety. ATF also takes steps to increase

       State and local awareness of available federal prosecution under these statutes through,

       among other things, devoting its limited resources to developing and presenting

       relevant training and conducting outreach.

  7.   ATF uses its regulatory authority to similarly fulfill its public safety mission. In order to

       curb the illegal use of firearms and enforce the federal firearms laws, ATF issues

       licenses to firearms manufacturers, importers, dealers, and curio or relic collectors, and

       conducts federal firearms licensee (“licensee”) qualification and compliance

       inspections. In addition to aiding the enforcement of federal requirements for firearm

       purchases, compliance inspections of existing licensees focus on assisting law

       enforcement to identify and apprehend criminals who illegally purchase and possess

       firearms. As part of this effort, ATF also takes steps to increase awareness of the legal

       obligations among the firearms industry and the public. To accomplish this, ATF

       devotes its limited resources to educational campaigns and helping to ensure that those

       engaged in the business of manufacturing, importing, or dealing in firearms follow the

       law and have the essential education, training, and support to comply with federal law.

  8.   ATF issues rulemakings, rulings, forms, open letters, public safety advisories, Q&As,

       marking and recordkeeping variances (alternate methods to comply with the
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         regulations), and a variety of publications to implement, administer, and enforce the

         GCA and NFA.

  9.     Among the critical public safety issues ATF has identified and attempted to address is

         the impact of the proliferation of unserialized and unregulated firearms on efforts to

         reduce violent crime, including: (1) the proliferation of “privately made firearms”

         (“PMFs”), sometimes referred to as “ghost guns;” and (2) limitations of certain

         regulatory definitions that, as described below, could result in the vast majority of

         firearms in circulation in the United States having no frame or receiver.

                                                     The Rule

  10.    This rule updated the regulatory definitions of “frame or receiver,” “firearm,” and

         associated marking and recordkeeping regulations. This update helped prevent

         firearms, particularly, easy-to-complete firearm parts kits, from falling into the hands of

         felons and other prohibited persons 1 who, without the Rule, were able to purchase

         them without a background check or transaction records. The Rule also curbs the

         proliferation of unserialized privately made firearms, typically assembled from those

         kits, by ensuring that those weapons, or the frames or receivers of those weapons, are

         subject to the same requirements as commercially produced firearms whenever they

         are accepted into inventory by licensees. This, in turn, helps law enforcement solve

         crime by providing law enforcement officers with the ability to trace those weapons to

         a potential suspect if they are later found at a crime scene.


  1 Among other GCA prohibitions, 18 U.S.C. § 922(g) makes it unlawful for persons who fall into one or more

  of the following categories of "prohibited persons" to ship, transport, receive, or possess firearms: felons,
  fugitives from justice, drug abusers, persons adjudicated as a mental defective or committed to a mental
  institution, illegal aliens, certain nonimmigrant aliens, persons dishonorably discharged from the military,
  persons who have renounced their U.S. citizenship, persons subject to a qualifying domestic violence
  restraining order, and persons who have been convicted of a misdemeanor crime of domestic violence.
  Additionally, under 18 U.S.C. § 922(b)(1), juveniles under the age of 21 are prohibited from purchasing
  firearms other than a rifle or shotgun from a licensee, and if under 18, any firearms.
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  11.   ATF issued the Rule to increase public safety with the goal of ensuring proper

        marking, recordkeeping, and traceability of all firearms manufactured, imported, or

        otherwise acquired, and sold or otherwise disposed of by licensees.

  12.   I am aware that in an Opinion and Order dated June 30, 2023, and a Final Judgment

        dated July 5, 2023, the district court in VanDerStok v. Garland, 4:22-cv-00691-O (N.D.

        Tex.), determined that two provisions of the Rule, Definition of “Frame or Receiver” and

        Identification of Firearms, 87 Fed. Reg. 24,652f (Apr. 26, 2022), exceeded ATF’s

        regulatory authority, and vacated the Rule.

  13.   The Court’s prior preliminary injunction decisions and June 30 Opinion and Order

        were limited to determining that these two specific provisions in the Rule—namely, 27

        CFR 478.12(c) (“frame or receiver”), regulating certain partially complete frames and

        receivers (i.e., those are designed to or may readily be designed to or may readily be

        completed, assembled, restored, or otherwise converted to a functional state) as falling

        within the definition of “frame or receiver,” and the portion of 27 CFR 478.11

        (“firearm”) that addresses certain weapon parts kits (i.e., those that are designed to or

        may readily be completed, assembled, restored, or otherwise converted to expel a

        projectile by the action of an explosive) as falling within the definition of “firearm.”

  14.   The Rule, which was published with 90 days of public notice and comment, and which

        evaluated over 290,000 public comments, did considerably more than amend the

        regulatory definition of “frame or receiver” to include certain partially complete frames

        or receivers, 27 CFR 478.12(c), and amend the regulatory definition of “firearm” to

        include certain weapon part kits, 27 CFR 478.11.

  15.   In addition to these amendments, the Rule also: (a) defines the terms “frame” for

        handguns, and “receiver” for long guns and other projectiles weapons, to identify the
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        specific part that provides the housing for one primary fire control component with

        respect to those weapons, and grandfathers pre-existing designs; (b) addresses how and

        by when unserialized firearms that are privately made and are voluntarily accepted into

        the inventory of a licensee must be marked and recorded; (c) provides silencer

        manufacturers with important clarifications as to which portion of a complete muffler

        or silencer device must be marked with a serial number and other required

        identification, and when (often tiny) individual silencer parts must be marked; (d)

        explains how “multi-piece” frames or receivers that are modular—those that may be

        disassembled into standardized multiple subparts—are required to be marked; (e)

        updates the marking requirements for manufacturers to allow them to mark their

        abbreviated license number as an alternative to “city” and “state,” by clarifying what it

        means to mark “conspicuously,” and permits adoption of markings when firearms are

        being transferred prior to first sale or distribution into commerce and when

        gunsmithing operations are performed; (f) requires all licensees to consolidate records

        of manufacture, importation, acquisition, and disposition of firearms; and (g) updates

        existing regulations to require that all records retained by firearms licensees be

        maintained until they discontinue business or licensed operations rather than requiring

        them to be maintained for only 20 years.

                                       Overview of Harms

  16.   Eliminating the entire Rule—including provisions other than those evaluated by the

        Court in its opinions and orders—would irreparably harm the public, the regulated

        community, and ATF. Such elimination would damage public safety by allowing

        felons and other prohibited purchasers (including underage persons) and possessors to

        easily buy and assemble both serialized and unserialized firearms, by permitting the
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        widespread proliferation of unserialized firearms, and by impairing law enforcement’s

        ability to trace firearms recovered at crime scenes. In addition, the Rule provides

        clarity to, and eases certain regulatory burdens on, the regulated community, such that

        its elimination would cause confusion among, and costs to, that community. ATF has

        already spent substantial resources to implement the Rule. Thus, eliminating the Rule

        would—especially if any elimination were later narrowed or reversed—require ATF to

        spend additional substantial resources and would create confusion both inside and

        outside the agency.

                                     Harm to Public Safety

  17.   A number of the Rule’s provisions are aimed at ensuring that all firearms have a single

        frame or receiver subject to the statutory serialization, licensing, background check,

        recordkeeping, and other requirements. The effective implementation of those

        requirements is critically important to public safety, primarily for two separate reasons.

  18.   First, these requirements prevent felons and other prohibited persons throughout the

        country from acquiring firearms by ensuring that licensees sell firearms only after the

        purchaser undergoes a background check (or falls within an exception) and completes

        an ATF Form 4473, Firearms Transaction Record.

  19.   Second, as detailed extensively in the Rule and the administrative record, unserialized

        firearms, which have been increasingly recovered at crime scenes, are nearly impossible

        to trace and therefore pose a significant challenge to law enforcement. (87 FR 24655 –

        24660; AR 818-819; 825-827; 855-859; 871-901;71,465-71,657). The number of

        suspected unserialized firearms recovered by law enforcement agencies and submitted

        to ATF for tracing increased by 1,083% from 2017 (1,629) to 2021 (19,273). (National

        Firearms Commerce and Trafficking Assessment Vol. II: Part III, Page 5). With the
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        Rule in its infancy, the threat of unserialized firearms continues. Between August 24,

        2022, and July 6, 2023, a total of approximately 23,452 suspected privately made

        firearms were recovered at crime scenes and submitted for tracing. (ATF PMF Trace

        Data, queried July 14, 2023). These numbers are likely far lower than the actual

        number of privately made firearms recovered from crime scenes because some law

        enforcement departments incorrectly trace some privately made firearms as

        commercially manufactured firearms, or may not see a need to use their resources to

        attempt to trace firearms with no serial numbers or other markings. (87 FR 24656

        n.18).

  20.   Eliminating all of the Rule’s provisions would thus irreparably harm public safety by

        allowing the continued proliferation of unserialized firearms—generally acquired by

        individuals who have not undergone a background check and sold with no record of

        their sale—on a number of different dimensions.

  21.   At the outset, the two provisions that the Court determined exceeded ATF’s regulatory

        authority in its opinion vacating the Rule are critical to public safety because they

        prevent easy circumvention of the GCA’s entire regulatory scheme. 27 CFR 478.12(c)

        (“frame or receiver”), which explains when a partially complete, disassembled, or

        nonfunctional frame or receiver has reached the stage of manufacture to be considered

        a “frame” or “receiver,” ensures that companies that produce and sell frame or

        receiver parts kits, or standalone partially complete frames or receivers, that allow

        ready completion and assembly to be functional frames or receivers: (a) are properly

        licensed; (b) place traceable marks of identification on them; (c) conduct background

        checks when they are sold to prevent felons and other prohibited persons from

        acquiring them; and (d) maintain records through which the weapons that incorporate
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        them can traced if later used in crime. Under the Court’s decision, unlike every other

        firearms manufacturer, a manufacturer of frames or receivers can easily avoid the

        regulatory requirements of the GCA simply by producing and selling frames or

        receivers that are missing, for example, a single hole necessary to install the applicable

        fire control component, or that has a small piece of plastic that can easily be removed

        to allow installation of that component (i.e., a frame or receiver that is “partially

        complete”).

  22.   The same is true of weapon parts kits. 27 CFR 478.11 (“firearm”) ensures that

        companies that produce and sell weapon parts kits, or aggregations of parts that allow

        a weapon to readily be completed and assembled to expel a lethal projectile, are subject

        to the same requirements as all other firearms manufacturers. Again, these

        requirements help prevent violent crime by requiring manufacturers to conduct

        background checks to prevent prohibited persons from receiving them, and requiring

        licensees to mark and keep records that allow those weapons to be traced to a potential

        suspect if they are later used in a crime.

  23.   In recognition of these risks to public safety, the Court had previously limited its

        preliminary injunctions so that it did not apply to plaintiffs’ customers who were

        prohibited from possessing firearms pursuant to 18 U.S.C. § 922(g). In vacating the

        Rule, that important limitation to the Court’s prior rulings no longer exists, which will

        only encourage felons and other prohibited purchasers (including underage persons)

        and possessors to buy firearms in the configuration of weapon parts kits or partially

        complete frames or receivers that enable those individuals to easily acquire the parts

        and readily complete and assemble a functional unserialized firearm for use in violent

        crime. (87 FR 24686 & n.107).
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   24.   For example, in New Orleans, Louisiana, from August 19, 2021, to February 1, 2022, a

         20-year-old named Tyrese Harris committed a series of carjackings using a privately

         made 9mm caliber semiautomatic pistol that had been completed and assembled from

         a Lone Wolf parts kit that could not be traced. During one attempted carjacking,

         Harris fired the weapon at the driver, and in another, the victim was dragged by the car

         resulting in serious bodily injury. He was sentenced to 45 years in prison. See also,

         Teens buying ghost guns online, with deadly consequences, Washington Post (July 12, 2023),

         available at https://www.washingtonpost.com/dc-md-va/2023/07/12/teens-ghost-

         guns-deadly-shootings/.

   25.   In addition, numerous other provisions of the Rule, which were not addressed by the

         Court, seek to combat the proliferation of unserialized, or otherwise untraceable,

         firearms in different ways. Eliminating those provisions would thus further undermine

         public safety.

   26.   First, one provision of the Rule updates the regulatory definitions of “frame” and

         “receiver” to reflect advances in weapons technology. As noted in the Rule (87 FR

         24691, 24655) and administrative record (AR 628-687; 701-709; 719-722; 71,330), the

         1968 regulatory definition of “frame or receiver” meant “[t]hat part of a firearm which

         provides housing for the hammer, bolt or breechblock, and firing mechanism.” But

         today, 90% of firearms currently available do not have a single part that houses a

         hammer, bolt or breechblock, and firing mechanism; instead, most firearms have split

         frames or receivers (i.e., they house those three components in two or more separate

         parts), or they house a striker rather than a hammer. As a result, under a strict reading

         of the previous regulatory definition—which had been adopted by at least three federal
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         district courts (87 FR 24691, 24655)2—the vast majority of available firearms would

         have no frame or receiver.

   27.   The practical result of that strict reading is that every individual part of almost all

         firearms in circulation in the United States may be sold separately without compliance

         with the statutory background check, licensing, serialization, and recordkeeping

         requirements. As illustrated below, a felon or other prohibited person could easily

         purchase online Part A and Part B (i.e., the upper and lower receiver) as “non-

         firearms” and assemble a fully functional AR-variant firearm within a minute. And that

         firearm may not have a serial number, and even if it did, there would be no

         recordkeeping required that would allow ATF to trace it if it were later recovered at a

         crime scene.




                                                                                                   Part A




                                                           Part B




                                                                                   Complete Weapon




   2
    See United States v. Jimenez, 191 F. Supp. 3d 1038 (N.D. Cal 2016); United States v. Roh, 8:14-cr-
   00167-JVS, May 16, 2019; United States v. Rowold, 429 F. Supp. 3d 469 (N.D. Ohio 2019).
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   28.   Notably, a court in the Northern District of Ohio encouraged ATF to alter the 1968

         regulatory definition of “frame or receiver,” stating that “[A]TF retains the authority –

         and has the duty – to fix the regulatory scheme and to regulate AR-15 lower receivers

         as firearms within the GCA. The result I reach only prevents the agency from using an

         unreasonable and legally unacceptable application of its current regulation to

         accomplish that worthwhile objective.” Rowold, 429 F. Supp. 3d at 476.

   29.   Second, the Rule requires that firearms licensees mark unserialized firearms whenever

         they are voluntarily accepted into the licensee’s inventory. The GCA requires that

         licensees record the acquisition and disposition of each firearm, but without unique

         identifying information to record, those records are ineffective as a means of tracing or

         locating unserialized firearms. Thus, eliminating that provision of the Rule would

         undermine the GCA’s requirements that ensure every licensee has recorded each

         firearm’s acquisition and disposition for purposes of tracing.

   30.   As explained above, the lack of proper records makes it nearly impossible to trace

         firearms that are recovered at crime scenes. But it also harms public safety in other,

         related ways. For example, it is difficult, if not impossible, for licensees and ATF

         (during inspections) to match accurately and reliably the unserialized firearms in a

         licensee’s inventory with those in required records, or to determine whether a

         particular unserialized firearm recorded as disposed on a Form 4473 (which details

         information of a purchaser) are those recorded as disposed in the records. Such

         difficulty not only makes it hard for ATF to ensure that licensees are keeping accurate

         records during inspections, but also means that licensees and ATF will have difficulty

         accurately determining which unserialized firearms were stolen or lost from inventory

         if such an incident occurs, or were the same crime guns listed on an ATF Form 4473.
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         In addition, the lack of such a serialization requirement makes it much more difficult

         for police to locate stolen unserialized firearms in the business inventories of

         pawnbrokers, for example, or to return any recovered stolen or lost unserialized

         firearms to their rightful owners. (87 FR 24659-60)

   31.   Third, the Rule imposes a number of requirements related to silencers and mufflers

         that are important for public safety. The Rule explains how, by when, and where on

         the device, including one that is modular, the silencer or muffler must be marked so

         that law enforcement officers can trace them if later found at a crime scene. The Rule

         also prohibits manufacturers from marking a removable end cap on the device, which

         can be damaged during use, thus destroying the information necessary to trace the

         firearm. (87 FR 24660, 24727, 24739)

   32.   Fourth, the Rule updates existing regulations to require that all records retained by

         firearms licensees be maintained (including allowing storage of old paper records at a

         separate warehouse) until they discontinue business or licensed operations, rather than

         destroying them after a twenty-year period. As the Rule and administrative record

         make clear, numerous older firearms could not be traced after having been used in

         crime because the records were destroyed after 20 years. (87 FR 24667, 24712; AR

         68,595-597; 68,605-606; 68,626-628; 68,640-644; 68,655; 68,659-661). There are

         currently 81,808 total active federal firearms licensees. Of those, 14,048 have been in

         business 20 years or more, and an additional 751 have been in business for 19 years.

         With the Rule vacated, these thousands of licensees are able to destroy their dated

         records now and every day the Rule remains vacated without recourse. Once these

         firearms transactions records are destroyed, there is no way to recover the information
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         they contained, which will make any additional traces of the firearms involved

         unsuccessful.

   33.   As explained in the Rule, the National Tracing Center conducted an analysis of all trace

         requests submitted between January 1, 2010, and December 31, 2021, that were closed

         under a particular code in the tracing system indicating the licensee specifically

         informed ATF that it did not have records for that firearm because the records were

         more than 20 years old and had been destroyed. A total of approximately 16,324

         traces, or 1,360 on average per year, could not be completed during this time period

         because ATF was informed the records had been destroyed. Of these total

         unsuccessful traces, approximately 182 of the traces were designated as “Urgent,”

         1,013 were related to a homicide or attempted homicide (not including suicide), and

         4,237 were related to “Violent Crime.” (87 FR 24712)

                               Harm to the Regulated Community

   34.   In addition to harming public safety, eliminating the entire Rule would substantially

         injure the regulated community, in primarily two different ways. First, it would create

         substantial confusion among the regulated community regarding their legal obligations.

         Second, it would increase regulatory burdens on the regulated community.

   35.   First, eliminating the Rule will create, and indeed has already created, significant

         confusion among the regulated community—impacting approximately 80,000

         licensees. Vacating the entire Rule also has a significant impact on formal ATF

         Rulings that were superseded by the Rule because the firearms industry is unclear how

         to proceed with their current business practices. ATF has already received inquiries

         from members of the firearms industry, a trade association that represents many of

         those members, and a software company, seeking clarification whether they must now
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         reverse their newly implemented business practices (e.g., whether these licensees must

         now separate their recently consolidated records) and methods of operation. This

         confusion will only increase if the Court’s ruling, or the scope of relief, is reversed on

         appeal, which may require licensees to overhaul certain business practices twice in a

         short period of time.

   36.   Second, a number of provisions of the Rule were aimed at easing burdens on the

         regulated community, and their elimination harms that community by reimposing

         those requirements. For example, the Rule authorizes manufacturers to mark the

         “frame” or “receiver” with their abbreviated license number instead of “city” and

         “state” of manufacture, and enumerates specific exceptions as to when and how a

         licensee may adopt existing markings. Without the Rule, these codified allowances and

         blanket “marking variances” would not exist, increasing burdens on the firearms

         industry. These burdens may be particularly onerous because manufacturers must set

         up their manufacturing processes to comply with marking requirements, a process that

         costs substantial time and money to accomplish.

   37.   In addition, the Rule provides silencer manufacturers with important clarification as to

         which portion of a complete muffler or silencer device must be marked with a serial

         number and other required identification. Under the GCA, the term “silencer” is

         defined to include each small individual part designed and intended only to be used to

         fabricate a silencer. It is extremely difficult and expensive for silencer manufacturers

         to mark each tiny individual silencer part. For this reason, the Rule only requires them

         to mark what is defined as the “frame or receiver” of the silencer. (AR 917; 937-938).

   38.   Similarly, the Rule also provides an exception for qualified manufacturers to delay or

         avoid registration of silencer parts if they become part of a complete device, or
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         gunsmithing operations are being performed on an existing marked and registered

         silencer device. Without the Rule, there is no exception for manufacturers from the

         requirement that they mark and register each and every silencer part, and no grace

         period in which to mark them after completion of manufacture.

   39.   The Rule replaced many prior ATF Rulings with updated information that explained

         how to conduct business under law. (87 FR 24664 n.53, 24665-66, 24688, 24702-03,

         24729-30). For example, the Rule superseded ATF Rulings 2009-5 (Firearms

         Manufacturing Activities, Identification Markings of Firearms) and 2013-3 (Adopting

         Identification of Firearms). Under the applicable provisions of the Rule,

         manufacturers may adopt existing markings on a firearm and a “non-marking variance

         request” or notice is no longer required under the new regulations under certain

         circumstances. Without the Rule, manufacturers will either have to mark firearms they

         remanufacture, or apply for a variance not to mark firearms they remanufacture even

         though they have already been marked by another manufacturer. These additional

         markings are expensive for licensees to place, and confusing to law enforcement when

         conducting a trace of a crime gun.

   40.   In addition, the Rule superseded ATF Ruling 2011–1 (Importers Consolidated

         Records) and ATF Ruling 2016–3 (Consolidation of Records Required for

         Manufacturers), which allowed licensed manufacturers and importers to consolidate

         their records of both production/importation, and disposition, but only under certain

         conditions. The Rule made this consolidation a requirement. If the Rule is removed,

         manufacturers and importers would need to undo this consolidation and keep their

         production/importation records separately from their records of sale or distribution

         unless they obtain a variance.
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                                          Harm to ATF

   41.   In addition, elimination of the Rule will substantially harm ATF, which has devoted

         significant resources to training and implementing the Rule, and which will need to

         devote substantial additional resources to comply.

   42.   For example, after the issuance of the Rule, ATF amended its Form 4473, Firearms

         Transaction Record, to comport with the updates made by the Rule. This form must

         be completed every time a licensee transfers a firearm to a non-licensee. ATF will

         incur substantial monetary costs to publish a revised version of Form 4473. This

         would include the cost of creating, printing, and shipping approximately 25 million

         replacement forms to licensees throughout the United States. This cost could double

         if the Court’s decision is overturned or rendered inconsistent with rulings by other

         courts. In addition to ATF’s costs to change the Form 4473, there are also costs to the

         industry to develop the electronic Form 4473 for their electronic systems; in addition

         to the costs, these changes can take roughly several months to complete.

   43.   After publication of the Rule, ATF and the Department of Justice conducted extensive

         training and outreach to federal, state, and local law enforcement partners, and United

         States Attorney’s Offices nationwide regarding the impact of the Rule. ATF

         extensively trained its personnel on the scope of the Rule and identified one Industry

         Operations Investigator and one Special Agent in each ATF field division as the local

         subject matter expert on the Rule. ATF conducted approximately 18 internal trainings

         which around 1,978 ATF employees attended. Additionally, ATF presented at least

         four virtual trainings for over 5,200 regulated industry members and in person

         trainings to regulated industry members at the Orchid Advisors Conference, SAAMI

         Conference, National Shooting Sports Foundation conference, and Firearms and
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         Ammunition Import Roundtable Conference. ATF’s Office of Field Operations also

         conducted over 150 licensee seminars from June 22, 2022, to the present which

         included explaining the Rule.

   44.   Each training covered the Rule’s definition of “frame or receiver”; its definition of

         “privately made firearm”; marking and recordkeeping for licensees; general changes to

         the marking, recordkeeping, and record retention requirements for licensees; and

         affected ATF Rulings/Procedures. In each training, experts from ATF’s Firearms and

         Ammunition Technology Division, Firearms and Explosives Services Division,

         National Firearms Act Division, Field Operations, and Firearms and Explosives Law

         Division answered numerous questions.

   45.   In addition to training, ATF established a robust public facing webpage,

         (https://www.atf.gov/rules-and-regulations/definition-frame-or-receiver) dedicated to

         the Rule. The website includes a summary of the Rule, resource guides explaining the

         impact of the Rule, and it provides access to the regulation’s website with the Rule’s

         text, the detailed PowerPoint training, frequently asked questions, and a recorded

         training video on the Rule.

   46.   Removal of the Rule will result in widespread confusion among law enforcement

         officers and prosecutors, firearms industry members, and the general public. ATF has

         already begun to receive these inquiries, and will need to devote the agency’s limited

         time and resources to retraining internal personnel and educating the regulated

         industry, law enforcement, and the public on implementation of this decision. The

         potential of an appeal or contrary decision by the court of appeals or another district

         court further increases the risk that ATF will need to expend further resources to

         undertake continual efforts to update the public on the status of the Rule.
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   I declare under penalty of perjury that the foregoing is true and correct.

   Executed this 14th day of July, 2023.

   MATTHEW            Digitally signed by
                      MATTHEW VARISCO

   VARISCO            Date: 2023.07.14
                      16:33:23 -04'00'
   _________________________
   Matthew P. Varisco
   Assistant Director, Enforcement Programs and Services (Regulatory Operations)
   Bureau of Alcohol, Tobacco, Firearms and Explosives
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